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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiffs,        )
                                      )                4:07CR3054
              v.                      )
                                      )
FEDERICO BALLI and                    )
DEBORAH V. VASQUEZ,                   )          MEMORANDUM AND ORDER
                                      )
                   Defendants.        )
                                      )


       A second conference pursuant to Rule 17.1 of the Federal
Rules of Criminal Procedure was held with counsel this date by
telephone conference call.       The court was advised that while
defendant Balli is out of the rehabilitation hospital, his
injuries have become infected and he is going to require
additional surgeries.      He thus remains physically unable to attend
trial.      All counsel remain in agreement that there is no reason at
this point to proceed to trial with only co-defendant Vasquez, and
that another telephone conference should be held later when
defendant Balli’s condition and prognosis are better known.


       IT THEREFORE HEREBY IS ORDERED:

       1.    The case continues to be exempted from the Speedy Trial
Act.

     2. Another telephone conference with counsel will be held
November 2, 2007 at 2:00 p.m. Central Time for the purpose of
further reviewing the case and perhaps setting a trial date.

       DATED this 28th day of August, 2007.

                                     BY THE COURT:


                                     s/   David L. Piester
                                     David L. Piester
                                     United States Magistrate Judge
